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IN THE DISTRICT COURT OF OKLAHOMA COUNTY
STATE OF OKLAHOMA

ALICE HENso.N, ) cJ
) _ 2016 - \ 1
Plaintiff, ) 7 7 9 z ._,_' `
) “ _
V` § ease N°' CJ'z°‘ 6P1LED m DISTRICT couR'r
T
AAA INsuRANCE coMPANY, ) °KLAHOMA COLN"'Y
)
Defendant. ) FEB 1 2 2015
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PETITIoN 50....._._________

COMES NOW Plaintiff, Alice Henson, by and through her attomey, Scott
Gallagher, Little, Oliver and Gallagher, and for her cause of action against Defendant,
AAA Insurance Company, states and alleges as follows:

l. Alice Henson is a citizen and resident of Cleveland County, Oklahoma.
Defendant, AAA Insurance Company is authorized to transact business in the State of
Oklahoma, and can be served through its registered agent, The Corporation Company,
1833 S. Morgan Road, Oklahoma City, OK 73128. Therefore, this Court has hill and
complete jurisdiction and venue of all matters herein.

2. The accident occurred on or about the 16lh day of March, 2015, in
Oklahoma City, Oklahoma County, Oklahoma.

3. Darline McCarthy negligently drove her vehic|elthrough a red traffic light,
striking Plainti'ff’s vehicle in which she was a passenger, causing severe injury to

Plaintit`i`. Darline McCarthy had liability insurance of $250,000 per person that was paid

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and subrogation was waivedrl§y the Defendant, AAA lnsurance Company.

EXH|B|T

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4. Plaintiff, Alice Henson had purchased and was insured under an
uninsured/underinsured motorist policy from Defendant on her 2011 Ford Escape, VIN
lFMCUOEGSBK824046, being policy number okss-202906150, that was in full force
and eH`ect, and that provided underinsured motorist coverage.

5. PlaintiH’s daughter, Tonia Kuehn, was driving Plaintiff’s carin a
reasonable and proper manner and had no comparative negligence in causing the above

_ described collision.

6. As a result of the collision and negligence of Darline McCarthy, Plaintiff
suffered injuries and damages in excess of the policy limits available under the policy of
Darline McCarthy and, therefore, Plaintiff has made demand on Defendant, AAA
lnsurance Company, which payment was wrongiiilly denied under her
uninsured/underinsured coverage with Defendant.

7. Plaintiff has fulfilled her end of said contract by paying premiums.

9. Defendant is in bad faith in denial of the full extent of policies owed to
Plaintiff, Alice Henson.

WHEREFORE, it is respectfully prayed that Plaintiff, Alice Henson, have
judgment against the Defendant AAA Insurance Company in excess of $75,000.00, for
her damages, court costs, interest as allowed by law and other relief as the Court may see

l`n.

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ATTORNEYS’ LlEN CLAIMED

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H/

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